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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:05-cr-00017-MP-AK

JEFFERY ROBINSON,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 200, Motion to Continue Sentencing by Jeffery

Robinson. Defendant's sentencing is currently set for April 28, 2006. The defendant requests

the continuance in order to continue providing assistance to the Government. A telephone

hearing was held on this matter on Wednesday, April 19, 2006, at which time the Government

indicated that it does not oppose the motion. Accordingly, defendant's motion is granted.

Defendant's sentencing is hereby rescheduled for Wednesday, June 21, 2006, at 2:00 p.m.

       DONE AND ORDERED this            20th day of April, 2006


                                      s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
